      Case 0:20-mj-06653-AOV Document 9 Entered on FLSD Docket 12/18/2020 Page 1 of 1
U.S.DepadmentofJustice
Untted SfatesAttorneys



U nited S tates D istrict C oud
forthe S outhern D istrictof Florida
                                                      No 20-MJ-06653-VALLE

UNITED STATES OF AMERICA                                      Inm ate Nam e:M tonio James
V.                                                            InnRate #:502001905


Antonio James                      /



                           PETITION W RIT OF HABEAS CORPUS AD PROSEQUENDUM
        The United StatesofAmerica,byits United StatesAttorney,showsto the Court:
                A criminal complaint                                                 is pending in thisCourtagainst
M tonio James                                             the 8bove styled case, and itisSetfOrasto the defendanton
December 28. 2020            at U .S . District Court, 299 East Broward Blvd., Ft . Lauderdale, Florida 33301

        2.      The defendantisnow consned in the Joseph V . Conte Facility                                      at
1351 NW 27th Avenue, Pompano Beach, FL 33069

        3.      Itis necessaryto have the defendantbeforethis Courtfora Initial Appearance Hearing asajoresajd.

        W HEREFORE,this petitionerprays thatthis Honorable Courtissue a wri
                                                                          tofhabeas corpus ad prosequendum ,
directi
      ng any United States Marshalto proceedto theaforesaid penalinstitution and there take into custodythe bodyofthe

defendantand havethedefendantbeforethisCourtatthetime and place above specised forsaid Initial Appearance
anduponcompletionofaIIproceedingstoreturnthe defendanttothe custodyoftheW ardenoftheaforesaidpenalinsti
                                                                                                      tution'
                                                                                                            ,

andalso directing theW arden todeliverthe defendantintothe custody ofanyUnited States Marshalforthis purpose.


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                                                                       ANA FAJARDO ORSHAN
                                                                     UNI
                                                                       TED STATESAU ORNEY



                                                              By:       â
                                                                     Ajay Alexander
                                                                     ASSISTANT UNITED STATES ATTORNEY


cc.
  '
        U.S.Attorney(AUSA Ajay Alexander                  )
